Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                            CASE NO.

 RONNA JOHNSON,

           Plaintiff,

 v.

 NCL (BAHAMAS) LTD., a Bermuda
 corporation d/b/a NORWEGIAN CRUISE LINES,

      Defendant.
 ______________________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff RONNA JOHNSON, a Maryland citizen and resident, sues

 Defendants NCL (BAHAMAS) LTD., a Bermuda corporation with its principal

 place of business in Florida, doing business as NORWEGIAN CRUISE LINES,

 and alleges:

                            JURISDICTION, VENUE AND PARTIES

           1.     This is an action for damages in excess of seventy-five thousand

 ($75,000.00) dollars, exclusive of interest and costs.

           2.     Plaintiff RONNA JOHNSON is sui juris and is a resident and citizen

 of the State of Maryland.
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 2 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

        3.     Defendant NCL (BAHAMAS) LTD. is a Bermuda corporation with

 its principal place of business in Miami, Miami-Dade County, Florida. At all

 material times Defendant NCL (BAHAMAS) LTD. has done business under the

 fictitious name “NORWEGIAN CRUISE LINES.” For federal jurisdictional

 purposes, Defendant NCL (BAHAMAS) LTD. is both a citizen of Bermuda and a

 citizen of Florida.

        4.     Subject matter jurisdiction exists, based on diversity of citizenship

 pursuant to 28 U.S.C. §1332; there is complete diversity of citizenship between the

 parties as alleged above and the amount of damages claimed exceeds $75,000.00,

 the minimum jurisdictional amount required for diversity of citizenship cases.

        5.     At all material times, Defendant has conducted ongoing substantial

 and not isolated business activities in Miami-Dade County, Florida, in the Southern

 District of Florida, so that in personam jurisdiction over the Defendant exists in the

 United States District Court for the Southern District of Florida.

        6.     At all material times, the Defendant has engaged in the business of

 operating maritime cruise vessels for paying passengers, including the Plaintiff.



                                               2
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 3 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

        7.     In the operative ticket contract, the Defendant requires fare paying

 passengers such as the Plaintiff to bring any lawsuit against the Defendant arising

 out of injuries or events occurring on the cruise voyage in this federal judicial

 district. Accordingly, venue is proper in this Court.

        8.     Venue is also proper in this district because the Defendant’s principal

 places of business are located within this district.

        9.     Plaintiff has complied with all conditions precedent to bringing this

 action. The Plaintiff reported the accident to the ship's medical crew shortly after it

 occurred, and an incident report and written medical records were prepared

 onboard the ship. Furthermore, the Plaintiff gave the Defendant a timely written

 notice of claim as required by the ticket contract; the Plaintiff's accident occurred

 on October 22, 2105 as alleged below, and the Plaintiff through counsel sent the

 Defendant a letter as a written notice of claim, within six months of the incident as

 required. A copy of the notice letter is attached as Exhibit 1.




                                               3
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 4 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

                       LIABILITY AND DAMAGE ALLEGATIONS

        10.    At all material times, the Defendant was engaged in the business of

 operating maritime cruise vessels for fare paying passengers and for this purpose

 operated, among other vessels, the M/S "NORWEGIAN GETAWAY."

        11.    At all material times, including the accident date of October 22, 2015

 the Plaintiff was a fare paying passenger aboard the M/S NORWEGIAN

 GETAWAY and in that capacity was lawfully present aboard the vessel.

        12.    At all material times, the Defendants owed the Plaintiff, as a fare

 paying passenger aboard its cruise vessel, a duty of reasonable care for her safety.

        13.    On or about October 22, 2015, while aboard the M/S NORWEGIAN

 GETAWAY as a fare paying passenger, the Plaintiff was walking in or near the

 Garden Cafe on Deck 15 of the vessel.

        14.    At the time and place referred to in the preceding paragraph, the

 Plaintiff traversed an area in or near the Garden Cafe that was slippery due to the

 presence of a wet or slippery foreign substance, slipped, and fell.

        15.    The slippery or wet foreign substance on the walkway, in the area

 where the Plaintiff fell, had existed for a sufficient period of time before the

                                               4
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 5 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

 Plaintiff's accident that the Defendants had constructive knowledge of its presence

 and an opportunity to correct or warn of it, or knew or should have known in the

 exercise of reasonable care that the foreign substance posed a slip and fall hazard

 to passengers in the subject area.

        16.    As an alternative to the allegations in the preceding paragraph, the

 Defendants at all material times, had actual knowledge of the presence of a wet or

 slippery foreign substance on the area of the area where the Plaintiff slipped and

 fell, and knew or should have known in the exercise of reasonable care that the

 foreign substance posed a slip and fall hazard to passengers in the subject area.

        17.    As an alternative to the allegations in the preceding paragraph, the

 Defendants at all material times, had actual or constructive knowledge of the

 potential for the presence of a wet or slippery foreign substance in the area where

 the Plaintiff slipped and fell, and knew or should have known in the exercise of

 reasonable care that the a wet or foreign substance posed a slip and fall hazard to

 passengers in the subject area.

        18.    Notwithstanding their actual or constructive notice of the slippery or

 wet foreign substance in the subject area, and consequent slip and fall hazard to

                                               5
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 6 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

 passengers, the Defendants failed to correct or warn, of the condition before

 Plaintiff's accident, of the dangerous condition created by the substance. The

 Defendants thereby failed to exercise reasonable care for the safety of its

 passengers and were negligent.

        19.    Alternatively, notwithstanding their actual or constructive notice of

 the potential for a slippery or wet foreign substance in the subject area, and

 consequent slip and fall hazard to passengers, the Defendant failed to correct or

 warn, of the condition before Plaintiff's accident, of the dangerous condition

 created by the substance. The Defendants thereby failed to exercise reasonable

 care for the safety of its passengers and were negligent.

        20.    At all material times, at the time and place referred to in the preceding

 paragraph, the Plaintiff traversed an area in or near the Garden Cafe that was in a

 high traffic area on the vessel so that the Defendants knew or should have known

 of the likelihood of the presence of a wet or slippery foreign substance, but failed

 to undertake reasonable safety measures for passenger safety.

        21.    The Defendants' negligent acts or omissions consist of or more of the

 following:

                                               6
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 7 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

        a.     Failing to maintain the floor in a reasonably safe condition;

        b.     Failing to use safe flooring surfaces, and materials including in and

               around the area where Plaintiff fell.

        c.     Failing to conduct routine inspections of the area where Plaintiff fell

               for slipperiness or contaminants;

        d.     Failing to establish, implement, and enforce policies and procedures

               regarding cleaning and maintenance of the area where Plaintiff fell;

        e.     Failing to warn Plaintiff that the area where she fell was slippery and

               or dangerous;

        f.     Failing to correct the wet, slippery, or foreign substance;

        g.     Failing to warn Plaintiff of the slippery nature of the floor surface

               when contaminated by a wet or foreign substance;

        h.     Failing to adequately mark off the area where Plaintiff fell from the

               wet, slippery, or foreign substance;

        i.     Failing otherwise to exercise reasonable care in managing and

               operating the restaurant on the subject vessel where the accident

               occurred;

                                               7
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 8 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

        j.     Additional acts of negligence not yet discovered;

        22.    As a direct and proximate result of the slip and fall described above

 and hence of the Defendant’s negligence, the Plaintiff was injured in and about her

 body and extremities, suffered pain there from, sustained mental anguish, sustained

 disfigurement, disability and the inability to lead a normal life. Furthermore, she

 sustained loss of earnings and earning capacity in the past and future, and incurred

 medical, hospital, and other out of pocket and health care expenses as a result of

 her injuries. These damages are permanent or continuing in their nature and the

 Plaintiff will continue to sustain and incur these damages in the future.

        WHEREFORE, the Plaintiff demands judgment against the Defendant for

 compensatory damages and the costs of this action.




                                               8
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Case 1:16-cv-21762-CMA Document 1 Entered on FLSD Docket 05/17/2016 Page 9 of 9



 Johnson v. NCL (Bahamas) Ltd
 CASE NO.

                                DEMAND FOR JURY TRIAL

        The Plaintiff hereby demands trial by jury of all issues so triable as of right.

 Executed this 17th day of May, 2016.

                                            s/NICHOLAS I. GERSON
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                                               9
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